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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA,

      Plaintiff                                      Case No. 19-20450-CR-Scola
          v.

   ALEX NAIN SAAB MORAN,

      Defendant.


               UNOPPOSED MOTION TO ALLOW ELECTRONIC EQUIPMENT
                  INTO THE COURTROOM AT EVIDENTIARY HEARING

          Defendant Alex Nain Saab Moran, by and through undersigned counsel, hereby requests

  that this Court allow counsel and a paralegal for Mr. Saab to bring electronic equipment, associated

  electronic accessories, and cellular devices into the courtroom during the evidentiary hearing on

  Mr. Saab’s Motion to Dismiss the Indictment (ECF No. 147), and in support thereof state:

         1.       The evidentiary hearing on Mr. Saab’s Motion to Dismiss the Indictment (ECF No.

  147) is scheduled to begin December 12.

         2.       The Defense respectfully requests the ability to utilize certain electronic equipment

  during the hearing in order to effectively present some of Mr. Saab’s case electronically.

         2.       The Defense also intends to call certain witnesses to testify at the hearing live. In

  order to properly coordinate their testimony, counsel respectfully requests that this Court allow

  counsel to bring their cell phones into the courtroom to provide the ability to remain in contact

  with their witnesses and to enable the witnesses to reach counsel by phone or by e-mail, as

  necessary. Counsel will ensure that said mobile devices do not ring or make noise such as to

  interfere with the hearing proceedings.
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         4.      The following individuals are those who will bring the equipment and/or

  communication devices into the courtroom and who will be using or have access to the equipment

  and communication devices throughout the hearing:


         Counsel/Legal Assistant/Paralegal/Party
              or Party or Representative                              Equipment


                    Jonathan New, Esq.                 One      Laptop     computer,    including
                    Counsel for Mr. Saab               appropriate cables and/or       converters,
                                                       cellular phone and charger
                     Jonathan Barr, Esq.               One      Laptop     computer,    including
                    Counsel for Mr. Saab               appropriate cables and/or       converters,
                                                       cellular phone and charger
                     Lindy Keown, Esq.                 One      Laptop     computer,    including
                    Counsel for Mr. Saab               appropriate cables and/or       converters,
                                                       cellular phone and charger
                       Joe Schuster                    One      Laptop     computer,    including
                    Counsel for Mr. Saab               appropriate cables and/or       converters,
                                                       cellular phone and charger
                       Neil Schuster                   One      Laptop     computer,    including
                    Counsel for Mr. Saab               appropriate cables and/or       converters,
                                                       cellular phone and charger
                       Jeffrey Fetzer                  One      Laptop     computer,    including
                    Mr. Saab’s Paralegal               appropriate cables and/or       converters,
                                                       cellular phone and charger

                                                       Monitor – with Power adapter, Hot Spot
                                                       Mifi – with Power adapter, 1 in 2 out HDMI
                                                       Splitter – with Power adapter, Power Strip,
                                                       2 power extension cords, Logitech pointer


                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 88.9

         Counsel has conferred with Counsel for the government pursuant to Local Rule 88.9 and

  the government does not object to the relief requested herein.




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  Date: December 8, 2022                                Respectfully submitted,

                                                        BAKER & HOSTETLER LLP

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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 8, 2022, I electronically served the foregoing to

 all counsel of record.

                                                 s/Lindy K. Keown
                                                 Lindy K. Keown




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